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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division
DAVID A. STEBBINS,
Plaintiff,

Civil Action No. 1:14-cv-1267

RONALD CARTER, et al.,

Defendants.

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THIS MATTER comes before the Court on Defendant’s Motion to
Dismiss. Because Plaintiff has failed to state a claim upon
which relief can be granted, dismissal of his amended complaint
is warranted.

On September 22, 2014, David Stebbins (“Plaintiff”) placed
a phone call to the United States Marshals Service office in the
Eastern District of Virginia. After inquiring about service of
process in a separate case he had pending before this Court,
Plaintiff was transferred to “a man with a grouchy voice.”
Plaintiff alleges this man, later identified as Joshua Devine,
advised him that he was in charge of the cellblock and that
unless Plaintiff had an inquiry about an inmate or was turning
himself in pursuant to a warrant, he needed to “stop wasting

[Devine’s] time.”
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Plaintiff alleges that after he informed Devine he did not
intend to call the cellblock,! Devine cut him off and stated:
“Let me straighten something out for you, okay? You yell at me
on the phone, I will personally seek you out and file a charge
against you and make you a member of the cellblock. Are we
clear?” In response, Plaintiff attempted to explain his First
Amendment rights to Devine, but Devine again interrupted him,
asking “First of all: Are we clear?”

During a second phone call later that day, Plaintiff lodged
a complaint with Ronald Carter, a supervisor in the U.S.
Marshals Office, about his conversation with Devine. Carter
indicated he would “talk to” Devine, but that he had no
intention of disciplining him.

Plaintiff filed his initial complaint on September 25,
2014, alleging the following counts: I) First Amendment
retaliation; and II) common law terroristic threatening by
Devine. Carter was included as a defendant for his “tacit
authorization” of Devine’s actions. Upon certification that

Carter and Devine were employees of the federal government

1 Plaintiff indicates that he assumes the term “cellblock” is “the Eastern
District of Virginia’s slang term for [a] Federal Prison.” In all likelihood,
Devine was referencing the cellblock located inside the Alexandria Division
courthouse.

2 Plaintiff’s initial complaint (which he incorporates by reference into his
amended complaint) and his amended complaint contain YouTube links purported
to be recordings of his conversations with the U.S. Marshals. None of the
links contains the conversation between Plaintiff and Devine. However,
because the Court accepts all of Plaintiff’s factual allegations as true on a
motion to dismiss, these recordings are unnecessary to resolve Defendant's
motion.
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acting within the scope of their employment at the time of the
events giving rise to Plaintiff's complaint, the United States
of America substituted itself by operation of law in place of
Carter and Devine with regard to Count II on June 8, 2015. See
28 U.S.C. § 2679(d) (1).

On June 8, 2015, Carter, Devine, and the United States
(“Defendants”) moved to dismiss Plaintiff’s initial complaint.
Their memorandum supporting this motion referred to Plaintiff as
an “abusive filer” and cited a complaint he had brought in the
United States District Court for the Western District of
Arkansas alleging a Rehabilitation Act violation. In response,
Plaintiff amended his initial complaint to add a third cause of
action; retaliation under the Rehabilitation Act. Plaintiff
seeks $100,000 in compensatory damages for each day Devine’s
threat goes unwithdrawn along with $16,460,346.02 in punitive

damages.

Defendants now move to dismiss the amended complaint
under Fep. R. Civ. P. 12(b)(6) for failure to state a claim upon
which relief can be granted.

To survive a motion to dismiss, a complaint must contain

“sufficient factual matter, accepted as true, to state a claim

to relief that is plausible on its face.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). Although a court considering a motion to

3 This amount is based on the award of $10,000,000 in punitive damages that
was affirmed by the Supreme Court in TXO Prod. Corp. v. Alliance Res. Corp.,
509 U.S. 443 (1993). Plaintiff states his punitive damages claim represents
$10,000,000 in 1993 adjusted for inflation.

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dismiss must accept all well-pled factual allegations as true,
this deference does not extend to legal conclusions. Neither
“naked assertions devoid of further factual enhancement” nor
“[t]hreadbare recitals of the elements of a cause of action,
supported by mere conclusory statements” suffice. Id. After
Iqbal, complaints are required to allege “a plausible claim for
relief” instead of merely stating facts that leave open “the
possibility that a plaintiff might later establish some set of

undisclosed facts to support recovery.” McCleary-Evans v. Md.

Dep’t of Transp., State Highway Admin., 780 F.3d 582, 587 (4th

Cir. 2015) (emphasis in original). In sum, the plausibility
standard is the touchstone by which a complaint’s adequacy is
determined.

Because Carter and Devine are employed by the federal
government, the Court must determine whether they are covered by
the doctrine of qualified immunity, which provides “an immunity
from suit rather than a mere defense to liability[.]” Mitchell

v. Forsyth, 472 U.S. 511, 526 (1985) (emphasis in original).

Qualified immunity “shields government agents from liability for
civil damages insofar as their conduct does not violate clearly

established statutory or constitutional rights of which a

reasonable person would have known.” Behrens v. Pelletier, 516

U.S. 299, 305 (1996). In sum, any of Pliaintiff’s allegations

that do not plausibly indicate Carter and Devine violated his
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clearly established rights must be dismissed. In order to show
the violation of a clearly established right, Plaintiff must
show “precedent, either from the Supreme Court, the [United
States Court of Appeals for the Fourth Circuit], or a consensus
of cases from other circuits, [that] puts the officer on notice

that his conduct is unconstitutional.” Altman v. City of High

Point, 330 F.3d 194, 210 (4th Cir. 2003).

The Court now turns to Count I of Plaintiff’s amended
complaint. “The First Amendment right of free speech includes
not only the affirmative right to speak, but also the right to
be free from retaliation by a public official for the exercise

of that right.” Constantine v. Rectors & Visitors of George

Mason Univ., 411 F.3d 474, 499 (4th Cir. 2005) (quoting Suarez

Corp. Indus. v. McGraw, 202 F.3d 676, 685 (4th Cir. 2000)). In

order to recover for First Amendment retaliation, Plaintiff must
allege: 1) he engaged in First Amendment activity; 2) Defendants
took action that adversely affected his First Amendment rights;

and 3) a causal relationship between his protected activity and

Defendants’ conduct. Id.

Qualified immunity protects Carter and Devine from
liability on Count I, as neither violated a clearly established
right of which they had notice at the time. Moreover, Plaintiff
has not alleged a plausible claim of First Amendment

retaliation. Assuming Plaintiff’s phone call was First Amendment
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activity, he has not alleged that Devine’s comments were “more
than a de minimis inconvenience to [his] exercise of First

Amendment rights.” Constantine, 411 F.3d at 500. Because

Plaintiff’s claim against Devine fails, his “tacit
authorization” claim against Carter fails a fortiori.

Turning now to Count II, Plaintiff’s allegation of
terroristic threatening under Virginia common law is analyzed
under the Federal Tort Claims Act (“F.T.C.A.”) due to the United
States’ substitution of itself for Carter and Devine. In order
to bring an F.T.C.A. lawsuit in district court, Plaintiff “shall
have first presented the claim to the appropriate Federal
agency...” 28 U.S.C. § 2675(a). Here, Plaintiff has not brought
an administrative claim to the U.S. Marshals Office. Thus, Count
II must be dismissed. Moreover, even if Plaintiff had exhausted
his administrative remedies, his claim would still fail as he
has not identified a duty that was breached or damages resulting
from that breach.

Finally, Count III fails as well. For the reasons stated in
the discussion of Count I supra, Carter and Devine are again
protected by qualified immunity. Even if they were not, the
Rehabilitation Act clearly does not proscribe the citation of
any case in the drafting of a legal argument. Put simply, Count

III is frivolous.
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Plaintiff’s complaint does not state a claim upon which
relief can be granted. Therefore, it is hereby

ORDERED that Defendants’ Motion to Dismiss is GRANTED.

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CLAUDE M. HILTON
UNITED STATES DISTRICT JUDGE

Alexandria, Virginia
August I7 , 2015
